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Proposed Counsel for alleged Debtor,
Goodman Networks, Inc. d/b/a Goodman Solutions

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                      §
                                             §          Case No. 22-31641-mvl7
 GOODMAN NETWORKS, INC.,                     §
                                             §          Involuntary Chapter 7
             Debtor.                         §

             ANSWER TO INVOLUNTARY PETITION AND MOTION TO DISMISS

NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE IS
FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
(ADDRESS OF CLERK'S OFFICE) BEFORE CLOSE OF BUSINESS ON OCTOBER 24,
2022 WHICH IS AT LEAST 21 DAYS FROM THE DATE OF SERVICE HEREOF.

ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A COPY
SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO THE DATE
AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED A HEARING MAY BE HELD
WITH NOTICE ONLY TO THE OBJECTING PARTY.

IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE
RELIEF REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT
MAY ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED
ACTION MAY BE TAKEN.

TO THE HONORABLE MICHELLE V. LARSON UNITED STATES BANKRUPTCY JUDGE:

         COMES NOW, Alleged Debtor Goodman Networks, Inc. d/b/a Goodman Solutions

("Goodman" and/or "Debtor"), pursuant to 11 U. S. C. § 303(d) and Fed. Bankr. P. 1011, answers

the involuntary petition (the "Petition") filed by, JLP Credit Opportunity IDF Series Interests of

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the SALI Multi-Series Fund, L.P., JLP Institutional Credit Master Fund LP, and Alimco Re Ltd.

(collectively, the "Petitioners"). ECF No. 1, 2 and 3. In addition to answering the Petition,

Goodman respectfully requests that that the Court dismiss this bankruptcy case because Petitioners

are not statutory qualified to commence this filling.

    1. On September 6, 2022 creditors, JLP Credit Opportunity IDF Series Interests of the SALI

Multi-Series Fund, L.P., JLP Institutional Credit Master Fund LP, and Alimco Re Ltd. filed the

Petition. Doc. No. 1. In connection with the Petition, Petitioners filed Statement of Petitioners in

Support of Involuntary Petition (the "Statement"). Doc. No. 2.

                                            ANSWER

                         Involuntary Petition Against Non-Individual

    2. Goodman denies that Petitioners are eligible to file this the Petition pursuant to 11 U. S. C.

§ 303(b). ECF No. 1, part 3, q. 11 ("Allegations").

    3. Goodman admits that it is an entity is eligible to file a case under chapter 7 of the

Bankruptcy Code and thus may be the subject of an involuntary case under 11 U.S.C. 303(a). Id.

                                   DEFENSES AND OBJECTIONS

    4. Without assuming any burden of proof it would not otherwise bear, Goodman asserts the

following affirmative and other defenses to the involuntary petition. Goodman reserves the right

to assert further defenses as the case proceeds, and to move for dismissal of the case on any

grounds.

                                           FIRST DEFENSE
    5. The Petitioners lack standing to file the Petition because they are not unsecured creditors.




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                                 SECOND DEFENSE
    6. The case was not commenced by three or more entities holding noncontingent, undisputed

claims aggregating at least $18,600 more than the value of any lien on property of the alleged

debtor securing such claims.

                                      MOTION TO DISMISS

    7. The Petition must be dismissed because Petitioning creditors are not qualified to commence

this involuntary proceeding. Under section 303(b) of the Bankruptcy Code, if the alleged debtor

has more than 12 creditors, as is the case here, an involuntary petition must be supported by at

least three entities holding undisputed claims that are in aggregate at least $18,600 more than the

value of any lien securing those claims. The Petitioners do not satisfy these requirements.

    a. The Petitioners' claims do not exceed the value of the lien securing them.

    8. Here, Petitioners are in fact over secured. Recognizing this problem, the Petitioners filed

"partial waivers" in an attempt to manufacture an under secured status. ECF Doc. No. 4,8 and 10.

This attempt to generate a deficiency claim via waiver is ineffective. Under the Indenture, the lien

securing noteholder claims was granted by and for the benefit and of note Holders. Indenture p. 1.

For this reason, and as noted by petitioners –the Indenture specifies that note holders, such as the

Petitioners, do not have the capacity to impair the Lien.

   9. In relevant part, the Indenture states:

             …a Holder shall not have the right to institute any such suit for the enforcement
         of payment if and to the extent that the institution or prosecution thereof or entry of
         judgment therein would, under applicable, result in the surrender, impairment,
         waiver or loss of the Lien of this Indenture upon any property subject to such Lien.
         Indenture § 6.07(emphasis added).

    10. Courts "have repeatedly recognized the importance" of enforcing no-action clauses,

including in bankruptcy cases. See In re Am. Roads LLC, 496 B.R. 727, 730 (Bankr. S.D.N.Y.

2013) (citing cases).


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    11. What section 303(b) requires is that the Petitioners hold claims in excess of the "the value

of any lien" securing their claims. 11 U.S.C. § 303(b). The lien securing Petitioners’ claims has

remained unchanged, and the purported waiver does not suffice.

    12. Petitioners reliance on In re Allen-Main Assocs. Ltd. P'ship is misplaced. Id. In that case,

the court held that nothing in the Code prohibits a fully secured creditor from filing an involuntary

petition, if such secured creditor joined other eligible unsecured creditors holding the requisite

aggregate amount of claims. See id. at 61. The court also noted that "[u]nder the appropriate

circumstances, it is also possible for a fully secured creditor to waive all or part of its claim to

become an eligible unsecured creditor." Id. The court did not, however, address what is at issue

here— the extent to which a secured party may waive part of a single lien that it does not hold, but

that is held by a third party in trust for the collective benefit of multiple parties

    13. For these reasons, Petitioning creditors are not qualified to commence this involuntary

proceeding and the Petition must be dismissed.

    WHEREFORE PREMISES CONSIDERED, Goodman Networks, Inc. d/b/a Goodman

Solutions requests this Court set this matter down for hearing and that upon final hearing hereon

that Court enter an Order dismissing the Involuntary Petition and for such other and further relief

in law or in equity which Goodman may show itself justly entitled.




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Date: September 30, 2022               Respectfully submitted,

                                       AKERMAN LLP

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                                       laura.taveras@akerman.com

                                       PROPOSED ATTORNEYS FOR ALLEGED
                                       DEBTOR GOODMAN NETWORKS INC.,
                                       D/B/A GOODMAN SOLUTIONS




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 30, 2022 a true and correct copy of the foregoing
 document was served upon the following Petitioning Creditors, their counsel of record, and to all
 other parties and creditors required to receive service, via First Class Mail, E-mail, and/or the
 Court's ECF/CMC filing system.

   JLP Credit Opportunity Master Fund            JLP Credit Opportunity IDF Series Interests
   Attn: Jeffrey Peskind, Managing Member        of the SALI Multi-Series Fund LP
   420 Lexington Ave., Suite 300                 Attn: Jeffrey Peskind, Managing Member
   New York, NY 10170                            420 Lexington Ave., Suite 300
   -and-                                         New York, NY 10170
   c/o Philip Michael Guffy                      -and-
   Hunton Andrews Kurth LLP                      c/o Philip Michael Guffy
   600 Travis St., Suite 4200                    Hunton Andrews Kurth LLP
   Houston, TX 77002                             600 Travis St., Suite 4200
   pguffy@huntonak.com                           Houston, TX 77002
                                                 pguffy@huntonak.com

   JLP Institutional Credit Master Fund         Alimco Re Ltd
   LP                                           Attn: Jonathan Marcus, Chief Executive Officer
   Attn: Jeffrey Peskind, Managing Member       2336 SE Ocean Blvd., 400
   420 Lexington Ave., Suite 300                Stuart, FL 34996
   New York, NY 10170                           -and-
   -and-                                        c/o Philip Michael Guffy
   c/o Philip Michael Guffy                     Hunton Andrews Kurth LLP
   Hunton Andrews Kurth LLP                     600 Travis St., Suite 4200
   600 Travis St., Suite 4200                   Houston, TX 77002
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   pguffy@huntonak.com




                                                     /s/ David W. Parham
                                                    David W. Parham




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